                   Case 1:10-cr-00048-SM                        Document 21                Filed 04/23/10               Page 1 of 1
                                                                                                                  U.S. DISTRICT COURT
                                                                                                              DISTRICT OF NEW HAMPSHIRE


                                            UNITED S T A T E S DISTRICT C O U R T
                                                                                                                          APR 2C 2010
                                             DISTRICT OF N E W H A M P S H I R E
                                                                                                                              FILBED

United States of America

                                                                              Case No. / f l / D'C*                   "OO^f-                 W W

      A.MJJ            J ^
                            ^

                       STIPULATION TO DETENTION AND WAIVER OF DETENTION
                         HEARING AND/OR WAIVER OF PRELIMINARY HEARING

    • /    I hereby stipulate to detention and waive my right to a detention hearing, without prejudice, as
           provided in: >/
                  _ i / 18U.S.C. 3142(f), pending trial**
                           18 U.S.C. 3148(a), revocation of release/pending trial**
                  _        Fed.R.Crim.P. 46(c) and 18 U.S.C. 3143, pending sentence
                           Fed.R.Crim.P. 32.1(a)(1) and Fed.R.Crim.P. 46(c), pending revocation of
                           probation/supervised release hearing
[     ]    Having been charged in a (complaint) (petition) pending in this District, I hereby wai/e my right to
           a preliminary hearing as provided in Fed.R.Crim.P. 5.1 and Fed.R.Crim.P 32.1(b)(1)



Date:              HW

Date
                                                                                       Counsel for Defenda,

           STIPULATION APPROVED.


Date: rf Z^                       t                       fi                       ^-^S&V^**                           ^"^             ^ ^ ^ ^ J
              'I                                                                      United
                                                                                      United JStaies  MagistrateJudae
                                                                                              States Maaistrate   Judge
                                                                                      Unite/f Statks District Judge


cc:        US Attorney
           US Marshal
           US Probation
           Defendant's Counsel


**The defendant is committed to the custody of the Attorney General or her designated representative for confinement in a corrections facility separate, to
the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal The defendant shall be afforded a reasonable
opportunity for private consultation with defense counsel On order of a court for the United States or on request of an attorney for the Government, the
person in charge of the corrections facility shall deliver the defendant to the United States marshal for the purpose of an appearance ir connection with a
court proceeding


USDCNH-31A (5-05)
